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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                      www.flsb.uscourts.gov

 In re: Jimmy Steve Autran                       Case No. 18-11146-LMI
                                                 Chapter 13

                             Debtor                 /

 AMENDED OBJECTION TO CLAIM BY BOSCO CREDIT II TRUST SERIES 2010-1

             IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                               TO YOUR CLAIM

       This objection seeks either to disallow or reduce the amount or change the
priority status of the claim filed by you or on your behalf. Please read this
objection carefully to identify which claim is objected to and what disposition of
your claim is recommended. Upon the filing of this objection an expedited
hearing on this objection will be scheduled on the date already scheduled for the
confirmation hearing in accordance with Local Rule 3007-1(B)(2).

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the debtor objects
to the following claim filed in this case:

Debtor, Jimmy Steve Autran, by and through undersigned counsel, object to secured
claim 5 in the amount of $97,959.46 with an arrearage amount of $30,281.13 by Bosco
Credit II Trust Series 2010-1 c/o Franklin Credit Management Corp., P.O. Box 2301,
Jersey City, NJ 07303-2301. Debtor objects to claim 5 on the basis that claim 5 was
discharged in case 11-41793-AJC. Debtor filed for Chapter 7 protection in 2011 and
included claim in his bankruptcy schedules. See attached Schedule D of prior case.
Furthermore, Debtor objects to Claim 5 on the basis that the claim is barred by the
statute of limitations. Claim 5 should be disallowed and stricken.

The undersigned acknowledges that this objection and the notice of hearing for this
objection will be served on the claimant and the debtor at least 14 days prior to the
confirmation hearing date and that a certificate of service conforming to Local Rule 2002-
1(F) must be filed with the court when the objection and notice of hearing are served.

 Date: August 17, 2018                           Rodriguez Law, PL
                                                 900 West 49 Street, Suite 505
                                                 Hialeah, FL 33012
                                                 Tel: 305-262-8226
                                                 Fax: 305-262-8229

                                                 /s/ Ricardo A Rodriguez
                                                 Ricardo A Rodriguez
                                                 Florida Bar no. 0496901




LF-70 (rev. 12/01/09)
                                                                     B6D (Official Form 6D) (12/07)Case
                                                                                                    Case11-41793-AJC
                                                                                                         18-11146-LMI                                                  Doc
                                                                                                                                                                       Doc 11
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                                                                                                                                                                                    08/17/18 Page
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                                                                                                                                                                                                     of 31
                                                                                                                                                                                                        2
                                                                     IN RE Autran, Jimmy S.                                                                                                                     Case No. 11-41793
                                                                                                                                 Debtor(s)                                                                                                                                      (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
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                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                 AMOUNT OF




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO. 0016-146730-17                                               H 2nd Mortgage For Property Address: 713                                                                              97,877.50                97,877.50
                                                                     BSI Financial Services, Inc.                                               NW 129th Ct, Miami, FL 33182
                                                                     PO BOX 1943
                                                                     Richmond, IN 47375

                                                                                                                                                                   VALUE $ 281,283.00

                                                                     ACCOUNT NO.                                                                                   Assignee or other notification for:
                                                                     National City                                                                                 BSI Financial Services, Inc.
                                                                     Account Ending: 6528
                                                                     PO BOX 856177
                                                                     Louisville, KY 40285
                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO. 00429420825128                                               H 3rd Mortgage For Property Address: 713                                                                              97,633.25                97,633.25
                                                                     Chase                                                                      NW 129th Ct, Miami, FL 33182
                                                                     Home Equity Line Of Credit
                                                                     PO BOX 9001020
                                                                     Louisville, KY 40290
                                                                                                                                                                   VALUE $ 281,283.00

                                                                     ACCOUNT NO. 306213131218                                                   J 1st Mortgage For Property Address: 713                                                                          367,500.00                 86,217.00
                                                                     Chase Bank USA NA                                                            NW 129 Ct., Miami, FL 33182
                                                                     PO BOX 15298
                                                                     Wilmington, DE 19850

                                                                                                                                                                   VALUE $ 281,283.00
                                                                                                                                                                                                                       Subtotal
                                                                            1 continuation sheets attached                                                                                                 (Total of this page) $ 563,010.75 $ 281,727.75
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
